         Case 1:20-cr-00330-AJN Document 167 Filed 03/16/21 Page 1 of 1




                                                      March 16, 2021

Honorable Alison J. Nathan
United States District Court
United States Courthouse
40 Foley Square
New York, NY 10007



                       Re: United States v. Ghislaine Maxwell
                                   20 Cr. 330 (AJN)

Dear Judge Nathan:

        On behalf of our client, Ghislaine Maxwell, we respectfully submit the Reply
Memorandum of Ghislaine Maxwell in Support of Her Third Motion for Bail (the “Bail Reply”)
and accompanying exhibit. The Bail Reply contains references to the government’s Omnibus
Memorandum in Opposition to Ms. Maxwell’s Pre-trial Motions (the “Pretrial Motion
Opposition”) for which a ruling regarding redactions is pending. Until these redactions are
finalized, we are uncertain whether any redactions to the Bail Reply will be necessary.

        For now, we hereby submit by email to the Court and government the unredacted Bail
Reply pursuant to Rule 2(B) of the Court’s individual rules of criminal practice. Should any
redactions to the Bail Reply be required after the Court rules on the redactions to the Pretrial
Motion Opposition, we will at that time submit two versions of the Bail Reply to the Court: an
unredacted original to be filed under seal and a version for public filing containing the required
redactions.

       Please contact me with any questions. Your consideration of this request is greatly
appreciated.

                                                      Very truly yours,

                                                      /s/

                                                      BOBBI C. STERNHEIM

cc: Counsel for all parties
